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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 24-cv-60891-Civ-AHS

      INTER-COASTAL WATERWAYS, LLC,

                                       Plaintiff,
                              v.

       TRADESTATION SECURITIES, INC.,
          and DOE DEFENDANTS 1-10,

                             Defendants.
      _____________________________________/

       DEFENDANT TRADESTATION SECURITIES, INC.’S LIMITED RESPONSE IN
      OPPOSITION TO PLAINTIFF’S MOTION TO REOPEN ACTION AND LEAVE TO
                  FILE AN AMENDED COMPLAINT [ECF NO. 54]

          Defendant TradeStation Securities, Inc. (“TradeStation”) files this Limited Response in

  Opposition to Plaintiff’s Motion to Reopen Action and Leave to File an Amended Complaint and

  Incorporated Memorandum of Law [ECF No. 54] (“Motion”). TradeStation files this response in

  opposition in an abundance of caution to bring to the Court’s attention the fact that Plaintiff has

  deprived this Court of jurisdiction to hear the issues raised in the Motion by virtue of its appeal of

  this Court’s Order granting TradeStation’s Motion to Compel Arbitration and for Stay of

  Proceedings [ECF No. 51]. Plaintiff’s Motion is therefore improper and does not require a response

  at this time. In making this filing, TradeStation is in no way intending to waive its substantive

  arguments in opposition to the Motion, or to suggest that Plaintiff’s appeal is in any way proper.

  In fact, both are meritless.1


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   See e.g. Harding v. Google LLC, No. 23-11974, 2023 U.S. App. LEXIS 23483, at *1-2 (11th Cir. Sep. 5, 2023)(“This
  appeal is DISMISSED, sua sponte, for lack of jurisdiction. Nicholas Harding appeals from the district court’s order
  granting Google LLC’s motion to compel arbitration and staying the case pending the completion of arbitration[.] An
  appeal may not be taken from an interlocutory order that compels arbitration and stays, rather than dismisses, the
  action. 9 U.S.C. § 16(b)(1)-(3); see Am. Express Fin. Advisors, Inc. v. Makarewicz, 122 F.3d 936, 939 & n.4 (11th
  Cir. 1997) (dismissing for lack of jurisdiction appeal of an order compelling arbitration, staying proceedings, and
  administratively closing the case); Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 87 n.2, 121 S. Ct. 513, 148
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                                  RELEVANT PROCEDURAL HISTORY

           1.       On October 28, 2024, this Court issued an Order granting TradeStation’s Motion

  to Compel Arbitration and for Stay of Proceedings and denying Plaintiff’s Motion to Disqualify

  FINRA as the Alternative Dispute Resolution Service (the “Order”). [ECF No. 51]. This case is

  stayed pending resolution of the arbitration proceedings and the Court reserved jurisdiction to

  enforce any arbitration award. This case was administratively closed. Id.

           2.       On November 27, 2024, Plaintiff filed a Notice of Appeal [ECF No. 52] appealing

  the Order [ECF No. 51]. The United States Court of Appeals for the Eleventh Circuit issued a

  Civil Docketing Notice. [ECF No. 53].

           3.       On December 6, 2024, Plaintiff filed its Motion to Reopen the Action and for Leave

  to File an Amended Complaint and Incorporated Memorandum of Law. [ECF No. 54].

                                                    ARGUMENT

           It is well settled law that “[t]he filing of a notice of appeal divests the district court of

  jurisdiction over those aspects of the case that are the subject of the appeal.” Stinson v. Yates, No.

  23-cv-24688-ALTMAN/Becerra, 2024 U.S. Dist. LEXIS 17418, at *3 (S.D. Fla. Jan. 18, 2024)

  citing Doe v. Bush, 261 F.3d 1037, 1064 (11th Cir. 2001). “The filing of a notice of appeal is an

  event of jurisdictional significance—it confers jurisdiction on the court of appeals and divests the

  district court of its control over those aspects of the case involved in the appeal.” Griggs v.

  Provident Consumer Disc. Co., 459 U.S. 56, 58, 103 S. Ct. 400, 74 L. Ed. 2d 225 (1982).




  L. Ed. 2d 373 (2000) (noting that if the district court had entered a stay, rather than a dismissal, the order would not
  have been appealable, per 9 U.S.C. § 16(b)(1)). The district court's order here stayed, rather than dismissed, the case
  and expressly contemplated further proceedings. Cf. Martinez v. Carnival Corp., 744 F.3d 1240, 1244 (11th Cir. 2014)
  (noting that administratively closing a case is not the same as dismissing a case and finding that order compelling
  arbitration was immediately appealable where it “[n]otably . . . did not stay the proceedings, nor did it contemplate
  any further action on this case”).


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          “A district court lacks jurisdiction to consider a motion that is inextricably intertwined with

  issues addressed in orders that are the subject of a pending appeal.” SEC v. N. Am. Clearing, Inc.,

  656 F. App'x 947, 950 (11th Cir. 2016) (citing RES-GA Cobblestone, LLC v. Black Constr. & Dev.,

  LLC, 718 F.3d 1308, 1314 (11th Cir. 2013). “Issues are inextricably intertwined if one issue may

  not be resolved without deciding the other issue.” Id. (citing Edwards v. Prime Inc., 602 F.3d 1276,

  1291 (11th Cir. 2010) (finding that this Court lacked jurisdiction to review an order denying a

  motion to reassign the case to another judge, because review of the certified issues did not require

  resolution of that issue)). “When one aspect of a case is before the appellate court on interlocutory

  review, the district court is divested of jurisdiction over that aspect of the case. A district court

  does not have the power to alter the status of the case as it rests before the Court of Appeals.”

  Thomas v. Beebe, No. 8:23-cv-1699-MSS-TGW, 2024 U.S. Dist. LEXIS 145337, at *2 (M.D. Fla.

  Aug. 15, 2024) (quoting Green Leaf Nursery v. E.I. Du Pont de Nemours, 341 F.3d 1292, 1309

  (11th Cir. 2003) (internal quotations and citations omitted).

          Plaintiff has by its own initiative deprived this Court of the jurisdiction necessary to

  consider the relief sought in the Motion. Plaintiff’s Motion seeks leave to reopen the case and to

  amend the Complaint in order to circumvent the very Order compelling arbitration and staying this

  action that is currently pending before the Eleventh Circuit Court of Appeals. It therefore presents

  issues that are “inextricably intertwined” with the issues currently on appeal. Until they are

  resolved, the Motion cannot be heard by the Court. Stinson, at *3 (denying motion to reopen case

  because it is “on appeal before the Eleventh Circuit, so [the Court] ha[s] no jurisdiction over [it].”);

  Thomas v. Beebe, No. 8:23-cv-1699-MSS-TGW, 2024 U.S. Dist. LEXIS 145337, at *2-3 (M.D.

  Fla. Aug. 15, 2024) (“allowing Plaintiff to amend the complaint before the Eleventh Circuit has




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  decided the appeal would ‘alter the status of the case’ in that the case before this Court would

  proceed upon an amended pleading that is not before the court of appeals.”).

         Accordingly, the Motion cannot be heard until this Court regains jurisdiction; at which

  time TradeStation will file its substantive opposition.

                                           CONCLUSION

         Defendant TradeStation Securities, Inc. respectfully requests the Court decline to rule on

  Plaintiff’s Motion until it has regained jurisdiction, and permit TradeStation a reasonable time

  therefrom to file its response.


  DATED: December 20, 2024                              Respectfully submitted,


                                                        /s/ Leonel Peraza
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                                                        Securities, Inc.

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was electronically filed on December 20, 2024,
  with the Clerk of Court using the CM/ECF system, which will send notification of such filing to
  all counsel of record.
                                               Respectfully submitted,
                                               /s/ Leonel Peraza
                                               Leo Peraza, Esq.




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